           Case 1:10-vv-00485-VJW Document 201 Filed 07/15/16 Page 1 of 8




In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

**********************
SALLYANN ABBOTT,         *                         No. 10-485V
                         *                         Special Master Christian J. Moran
             Petitioner, *
                         *
v.                       *                         Filed: June 20, 2016
                         *
SECRETARY OF HEALTH      *
AND HUMAN SERVICES,      *                         Stipulation; Human Papillomavirus
                         *                         and meningococcal vaccines;
                         *                         syncopal seizure and post-vaccination
             Respondent. *                         encephalopathy
                         *
**********************

Ronald Craig Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for
Petitioner;
Althea Walker Davis, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On June 16, 2016, the parties filed a joint stipulation concerning the petition
for compensation filed by Sallyann Abbott on July 28, 2010. In her petition,
petitioner alleged that the human papillomavirus and menigococcal vaccines,
which are contained in the Vaccine Injury Table (the “Table”), 42 C.F.R.
§100.3(a), and which Sallyann Abbott received on or about August 17, 2007,
caused her to suffer a syncopal seizure and post-vaccination encephalopathy, with
residual effects lasting more than six months. Petitioner represents that there has
been no prior award or settlement of a civil action for damages on her behalf as a
result of her condition.

       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
            Case 1:10-vv-00485-VJW Document 201 Filed 07/15/16 Page 2 of 8




       Respondent denies that any of the vaccines that petitioner received either
caused her to suffer a syncopal seizure and a post-vaccination encephalopathy, any
other injury, or her current condition.

      Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A lump sum payment of $80,000.00 in the form of a check payable to
        petitioner, Sallyann Abbott. This amount represents compensation for
        all damages that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 10-485V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Dan Hoffman, at (202) 357-
6360.

        IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




        2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

                                                2
Case 1:10-vv-00485-VJW Document 201 Filed 07/15/16 Page 3 of 8
Case 1:10-vv-00485-VJW Document 201 Filed 07/15/16 Page 4 of 8
Case 1:10-vv-00485-VJW Document 201 Filed 07/15/16 Page 5 of 8
Case 1:10-vv-00485-VJW Document 201 Filed 07/15/16 Page 6 of 8
Case 1:10-vv-00485-VJW Document 201 Filed 07/15/16 Page 7 of 8
Case 1:10-vv-00485-VJW Document 201 Filed 07/15/16 Page 8 of 8
